Case 2:10-cv-01689-JLS-AJW Document 115 Filed 08/02/18 Page 1 of 1 Page ID #:2270



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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

  Case No. 2:10-cv-01689-JLS-AJW                                      Date: August 02, 2018
  Title: Securities and Exchange Commission v. Francois E. Durmaz et al.

  Present: HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

           Terry Guerrero                                             N/A
           Deputy Clerk                                           Court Reporter

    Attorneys Present for Plaintiff:                    Attorneys Present for Defendant:

             Not Present                                            Not Present

  PROCEEDINGS: (IN CHAMBERS) ORDER (1) FOR RECEIVER TO FILE
               BILLING RECORDS; AND (2) CONTINUING RECEIVER’S
               MOTION FOR FINAL ACCOUNTING & COMPENSATION
               (Doc. 111)

          Before the Court is the Receiver Stephen J. Donnell’s renewed Motion for Final
  Accounting & Compensation. (Doc. 111.) At a hearing held February 9, 2018, the Court
  denied the Receiver’s first motion for final accounting, in part, because the Receiver
  failed to file billing records detailing the fees and costs incurred since the Court’s most
  recent interim fee approval. Counsel for the Receiver assured the Court that the failure
  was an “oversight” that would be remedied.
          Again, however, the Receiver has failed to file these records in connection with
  the instant Motion. Therefore, the Receiver is ORDERED to file billing records, both for
  himself and his professionals, within ten (10) days of the date of this Order. Moreover,
  the hearing on the Motion is CONTINUED to September 21, 2018, at 2:30 p.m.


                                                            Initials of Preparer: tg




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                           CIVIL MINUTES – GENERAL                            1
